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AO 245B-C AED (R ev. 09/2011) Sheet 1 - Judgment in a C riminal Case



                                      United States District Court
                                              Eastern District of California

         UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                    v.                                                         (For Offenses Committed On or After November 1, 1987)
      JACQUELIN LANOISE RADISHA WADE                                           Case Number: 2:11CR00327-06


                                                                               Lexi Negin, Assistant Federal Defender
                                                                               D efendant’s Attorney


THE DEFENDANT:
[U]      pleaded guilty to count: 1 of the Information .
[]       pleaded nolo contendere to counts(s)         which was accepted by the court.
[]       was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                                       Date Offense        Count
Title & Section                        Nature of Offense                                               Concluded          Number
18 USC 4                               Misprision of a Felony                                          07/16/2010 to      1
                                                                                                       04/05/2011



       The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[]       The defendant has been found not guilty on counts(s)                    and is discharged as to such count(s).

[]       Count(s)         (is)(are) dismissed on the motion of the United States.

[]       Indictment is to be dismissed by District Court on motion of the United States.

[U]      Appeal rights given.                              []          Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United
States attorney of material changes in economic circumstances.

                                                                       11/16/2012
                                                                       Date of Imposition of Judgment



                                                                       Signature of Judicial Officer

                                                                       MORRISON C. ENGLAND, JR., United States District Judge
                                                                       Name & Title of Judicial Officer

                                                                       11/26/2012
                                                                       Date
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AO 245B-C AED (R ev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:                2:11CR00327-06                                                                  Judgment - Page 2 of 4
DEFENDANT:                  JACQUELIN LANOISE RADISHA WADE


                                                         IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of TIME SERVED .



[]       No TSR: Defendant shall cooperate in the collection of DNA.

[]       The court makes the following recommendations to the Bureau of Prisons:



[]       The defendant is remanded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at      on    .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.

                                                                RETURN
I have executed this judgment as follows:




         Defendant delivered on                                       to

at                                             , with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL



                                                                                           By
                                                                                                   Deputy U.S. Marshal
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AO 245B-C AED (R ev. 09/2011) Sheet 3 - Supervised R elease
CASE NUMBER:                 2:11CR00327-06                                                                           Judgment - Page 3 of 4
DEFENDANT:                   JACQUELIN LANOISE RADISHA WADE


                                                    SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 12 MONTHS .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901,
         et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he
         or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                  STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
      acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation
      of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
      officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
      the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
      criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
      confirm the defendant's compliance with such notification requirement.
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AO 245B-C AED (R ev. 09/2011) Sheet 3 - Supervised R elease
CASE NUMBER:                 2:11CR00327-06                                                                 Judgment - Page 4 of 4
DEFENDANT:                   JACQUELIN LANOISE RADISHA WADE


                                    SPECIAL CONDITIONS OF SUPERVISION

         1.    The defendant shall submit to the search of her person, property, home, and vehicle by a United
               States probation officer, or any other authorized person under the immediate and personal
               supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
               Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
               residents that the premises may be subject to searches pursuant to this condition.

         2.    As directed by the probation officer, the defendant shall participate in an outpatient correctional
               treatment program to obtain assistance for drug or alcohol abuse.

         3.    As directed by the probation officer, the defendant shall participate in a program of testing (i.e.
               breath, urine, sweat patch, etc.) to determine if she has reverted to the use of drugs or alcohol.

         4.    As directed by the probation officer, the defendant shall participate in a program of outpatient
               mental health treatment.

         5.    The defendant shall be monitored for a period of 6 months, with location monitoring technology,
               which may include the use of radio frequency (RF) or Global Positioning System (GPS) devices,
               at the discretion of the probation officer. The defendant shall abide by all technology
               requirements and shall pay the costs of location monitoring based upon their ability to pay as
               directed by the probation officer. In addition to other court-imposed conditions of release, the
               defendant’s movement in the community shall be restricted as follows:
                          a.      The defendant shall be restricted to her residence at all times except for
                          employment; education; religious services; medical, substance abuse, or
                          mental health treatment; attorney visits; court appearances; court-ordered
                          obligations; or other activities as pre-approved by the probation officer; (Home Detention).


         6.    As directed by the probation officer, the defendant shall participate in a co-payment plan for
               treatment or testing and shall make payment directly to the vendor under contract with the
               United States Probation Office of up to $25 per month.
